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 8                          IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
     IN RE PORTFOLIO RECOVERY         )             Case No.: 3:11-md-02295-JAH-BGS
11   ASSOCIATES, LLC TELEPHONE        )
     CONSUMER PROTECTION ACT          )             ORDER GRANTING JOINT MOTION
12   LITIGATION                       )             TO DISMISS WITH PREJUDICE
                                      )             PURSUANT TO FED. R. CIV. PROC.
13                                    )             41(a)(1)(A)(ii)
                                      )
14                                    )             Judge: Hon. John A. Houston
                                      )
15   This Document Relates to MARC V. )             Magistrate Judge: Hon. Bernard G. Skomal
     PORTFOLIO ASSOCIATES, LLC, )
16   Case No.: 3:15-cv-00008-JAH-BGS )
17            The Parties have filed a Joint Motion to Dismiss With Prejudice Pursuant to
18   Fed. R. Civ. Proc. 41(a)(1)(A)(ii). Good cause appearing, the Court GRANTS the
19   Parties’ joint motion to dismiss and this action is hereby dismissed with prejudice
20   in its entirety. Each party shall bear their/its own attorneys’ fees and costs.
21            IT IS SO ORDERED.
22
     DATED:           July 23, 2018
23                                                   HONORABLE JOHN A. HOUSTON
                                                     United States District Court Judge
24                                                   Southern District of California
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                                    ORDER GRANTING JOINT MOTION TO DISMISS

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